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Exhibit B

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)

In re: ) Chapter 11
)

ENERGY FUTURE HOLDINGS CORP., efai.,' ) Case No. 14 {——}-10979 (CSS)
)

Debtors. ) i WHS (Jointly
Administered)

) Re: Docket No. 23

FINAL ORDER AUTHORIZING THE DEBTORS
TO PAY CERTAIN PREPETITION TAXES AND FEES

Upon the motion (the “Motion” of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry ofa final order (this “Order”), authorizing, but

not directing, the Debtors to pay certain Taxes and Fees_in the ordinary course of business, all as
more fully set forth in the Motion; and upon the First Day Declaration; and the Court having
found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the
Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having entered_an_interim_order_in

Motion_as_ modified herein is in the best interests of the Debtors’ estates, their creditors, and

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8816. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201, Due to the large number of debtors in these
| chapter 11 cases, for which the-debtors-heve-+reguested-joint administration bas been granted on an interim basis,
a complete list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ prapesed-claims and
noticing agent at httpe:/Avww.efhcaseinfo.com.

Capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Motion,

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other parties in interest; and the Court having found that the Debtors provided appropriate notice
of the Motion and the opportunity for a hearing on the Motion under the circumstances; and the

Court having reviewed the limited objection of the ad hoc group of TCEH unsecured noteholders

and having heard the statements in support of the relief requested therein at a hearing, if any,
before the Court (the “Hearing”’); and the Court having determined that the legal and factual
bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;
parties having resolved and/or the Co

and the rt having otherwise overruled the objection raised

in the Limited Objection; and upon all of the proceedings had before the Court: and after due
deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

l. The Motion is granted as set forth herein.

2.____The Debtors are authorized, but not directed, to: (a) pay all outstanding
obligations that arose or accrued in the ordinary course of business on account of the Taxes and

Fees on a prepetition basis, in an aggregate amount not to exceed $146.74 million; and

(b) negotiate and pay Taxes and Fees that arise or accrue in the ordinary course of business on a

another Debtor that is not a TCEH Debtor (a “non-TCEH Debtor”) to the extent one or more of

the TCEH Debtors is directly liable to the appropriate unaffiliated third-party for the underlying

Taxes and Fees (and related intercompany reimbursements) to EFH Corp. or another Debtor that

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is not an EPIH Debtor (a “non-EFIH Debtor”) to the extent one or more of the EFIH Debtors is

directly liable to the appropriate unaffiliated third-party for the underlying Taxes or Fees,

3, Nothing in this Order shall obligate or authorize (a) a TCEH Debtor to reimburse

for_ payments related to the Taxes or Fees made by such non-EFIH Debtor on behalf of another

non-EFTH Debtor.

2.4. For the avoidance of doubt, by this Order, the Debtors are not authorized to
satisfy any prepetition obligations owed to the Internal Revenue Service or any prepetition
obligations that have accrued for past due or prior tax periods in violation of section 547(a)(4) of
the Bankruptcy Code.

3.5, In accordance with this Order and any other order of this Court, each of the
financial institutions at which the Debtors maintain their accounts relating to the payment of the
obligations described in this Order is authorized to honor checks and electronic payment requests
presented for payment of obligations described in this Order and all fund transfer requests made
by the Debtors related thereto to the extent that sufficient funds are on deposit in such amounts.

4,6. Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

claim against a Debtor entity; (b) a waiver of the-Debtorsany party in interest’s rights to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or
admission that any particular claim is of a type specified or defined in this Order or the Motion;
(e) a request or authorization to assume any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; and (f) a waiver or limitation of the Debtors’ rights under the

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Bankruptcy Code or any other applicable law. Payments made pursuant to this Order shall not
be construed as an admission as to the validity of any claim or a waiver of the-Debters-any party
in interest’s rights to subsequently dispute such claim.

5.7__Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Bankruptcy Rules are satisfied by such notice.

+8.___Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
and 9014 or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

8:9,____All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

§-10..The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order in accordance with the Motion.

40-11 The Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation of this Order.

Wilmington, Delaware
Dated: —-—---------s, 2014

THE HONORABLE CHRISTOPHER 8. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

